Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 1 of 48 PagelD #: 930

EXHIBIT A
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOSE MANUEL HENRIQUEZ and JOSE
HECTOR FUENTES, on behalf of themselves

and similarly situated employees, Case No. 12-CV-6233 (ADS)(GRB)

Plaintiff,
- VS-
KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY CREW,
JOHN KELLY, JOSEPH PROVENZANO,

Defendants.

 

 

DECLARATION OF BRIAN S. DEVERY

I, BRIAN S. DEVERY declare:

1. Iam a Project Manager with Angeion Group (“Angeion”), located at 1801 Market
Street, Suite 660, Philadelphia, PA 19103. I am over 21 years of age and am not a party to this
action. I have personal knowledge of the facts set forth herein and, if called as a witness, could
and would testify competently thereto.

2. The purpose of this declaration is to provide the Parties and the Court with a
summary and the results of the work performed by Angeion related to the Notice Procedures for
the Jose Manuel Henriquez and Jose Hector Fuentes, on behalf of themselves and all others
similiarly situated v. Kelco Landscaping Inc. et al. No. 12-CV-6233 (ADS) (GRB) class action
lawsuits, following the March 31, 2015 Order Granting Plaintiffs’ Motion for Preliminary

Approval of Class Settlement here at issue.
3. Angeion was retained to, among other tasks: (a) calculate Class Members’ share of
the Net Settlement Fund; (b) oversee the mailing of the Notice of Proposed Class Action
Settlement (“Notice”); (c) trace and remail undeliverable Notices returned by the United State
Postal Service (“USPS”) with forwarding addresses, as well as remail Notices for which new
addresses were provided by Class Counsel or after performing a skip trace; (d) provide Class
Counsel with activity reports; and (e) update the addresses of Class Members as provided by Class
Counsel. A copy of the Notice is attached hereto as Exhibit A.

4. On April 8, 2015, Angeion received from the Defendant an Excel spreadsheet
containing the Class Members. Angeion reviewed the Class List, updated the Class Member
information and removed any duplicate entries as was applicable resulting in a final Class
Member list containing 74 Class Members to which Notices and Claim Forms would be mailed.

5. On April 20, 2015, Angeion updated the Class Member list, utilizing the National
Change of Address database (“NCOA”), which provides updated addresses for all individuals who
have moved during the previous four years and filed a change of address with the USPS. The
Class Member List was updated with these new addresses for all Class Members where a new
addresses was provided via the NCOA search.

6. On April 20, 2015, the Notices were mailed to Class Members who were contained
in the Class Member list via First Class Mail postage prepaid. The Notices mailed contained all
relevant information required and were in the same format as Exhibit A attached hereto.

7. During the period from April 20, 2015 through June 4, 2015, no Notices were
returned to Angeion by the USPS with a forwarding address.

8. During the period from April 20, 2015 through June 4, 2015, 4 Notices were

returned to Angeion by the USPS without forwarding addresses. Angeion conducted a skip trace
on these undeliverables in an effort to locate new addresses. Of the Class Members whose returned
mail was skip traced, new addresses were found for 1 of them. The Class List was updated with
these new address and a Notice were remailed to the Class Members. During the period from
June 7, 2015 through the date of this declaration no an additional, Notices were returned to
Angeion by the USPS without a forwarding address. As of the date of this declaration, 3 Notices
remain undeliverable from the initial mailing including any notices returned as undeliverable after
the Class Period.

9. For the Class Member for whom a new address was located by skip trace,
as of the date of this declaration, the remailed Notice has not been returned as undeliverable a
second time.

10. In this case, after adhering to all of the Notice requirements of the Order
Preliminarily Approving Class Action Settlement and Providing for Notice, which included the
initial mailing, skip tracing and remailing, Angeion has received 3 request for Exclusion and 1
Objection. All Objections received and Exclusion requests are attached hereto as Exhibit B.

I declare under penalty of perjury pursuant to the laws of the State of New York, that the above is
true and correct to the best of my knowledge and that this declaration was executed this 5th day

of August 2015 at Oakdale, NY..

 
Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 5 of 48 PagelD #: 934

Exhibit A
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

JOSE MANUEL HENRIQUEZ and JOSE
HECTOR FUENTES, on behalf of themselves
and similarly situated employees,

Plainti ffs, Case No. 12-CV-6233 (ADS)

(GRB)
-against-

KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY’S
CREW, JOHN KELLY, JOSEPH
PROVENZANO,

Defendants.

 

NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT

If you were employed by Kelco Landscaping Inc. and/or Elm Construction Corp. as a landscaper
and/or laborer from December 19, 2006 to February 28, 2015, please read this Notice.

DATED: April 20, 2015

PLEASE READ THIS NOTICE CAREFULLY

This Notice relates to a proposed settlement ofa class and collective action litigation. It has been authorized
by a federal court. It contains important information as to your right to participate in the settlement, make
a claim for payment or elect not to be included in the class.

Introduction

Jose Manuel Henriquez and Jose Hector Fuentes, former employees of Kelco and/or Elm initiated a lawsuit for
allegedly unpaid overtime wages, prevailing wages and other claimed damages against Defendants. The Court in
charge of this case is the United States District Court for the Eastern District of New York. The lawsuit is known
as Henriquez, et al. v. Kelco Landscaping Inc., et al. Plaintiffs allege in the lawsuit that, among other things,
Defendants failed to pay them and other similarly situated employees overtime for hours worked over 40 in a
workweek, prevailing wages, minimum wages, and other wages due in violation of the Fair Labor Standards
Act (“FLSA”) and New York State Labor Law (“NYLL”). Defendants deny the Plaintiffs’ allegations.
Although Defendants deny that they are liable or owe damages to anyone, Defendants have concluded that
it is in their best interests at this time to resolve Plaintiffs’ claims on behalf of Plaintiffs and other landscapers
and laborers. Plaintiffs and Defendants have agreed to settle the action subject to the approval of the Court.
Defendants have agreed to pay a maximum of $1,025,000. The Court has not decided who is right and who
is wrong. Your legal rights may be affected, and you have a choice to make now. These rights and options
are summarized below and fully explained in this Notice.

YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

 

As described more fully below, to participate in the settlement send
a properly completed Claim Form and Release to the Settlement
PARTICIPATE Administrator that must be postmarked by June 4, 2015. If you fail
to submit a timely Claim Form and Release, you will receive no
monetary distribution from the settlement.

 

EXCLUDE If you wish to exclude yourself (“opt-out”) from the lawsuit you
YOURSELF must follow the directions outlined in response to question 7 below.

 

Write to the Court about why you believe the settlement is unfair or
unreasonable. If the Court rejects your objection, you will still be
bound by the terms of the settlement for claims under NYLL unless
OBJECT you submit a valid and timely Request for Exclusion Form. You
will not be bound by the settlement if you opt-out of this action as
described herein. If you object you may appear at the Fairness
Hearing to speak to the Court about the fairness of the settlement.

 

 

 

 

 

You have received this notice because Defendants’ records show that you worked for Kelco and/or Elm as a
landscaper or laborer sometime between December 19, 2006 and February 28, 2015.

 

A class action is a lawsuit where one or more persons sue not only for themselves, but also for
other people who have similar claims. These other people are known as Class Members. In a class action,
one court resolves the issues for all Class Members, except for those who exclude themselves from the Class.

 

Class Counsel analyzed and evaluated the merits of the claims made against Defendants in the Litigation,
investigated Defendants’ pertinent payroll policies, analyzed payroll data for Plaintiffs and a significant sample
of the putative Class Members and evaluated Defendants’ ability to pay a judgment. Based upon their
analysis and evaluation of this data, relevant law, and the substantial risks of continued litigation, including
the possibility that the litigation, if not settled now, might not result in any recovery whatsoever, or might
result in a recovery that is less favorable and that would not occur for several years, Plaintiffs entered into
this proposed settlement. Class Counsel is satisfied that the terms and conditions of this Agreement are fair,
reasonable and adequate and that this Agreement is in the best interest of the Plaintiffs and Putative Class
Members. Your estimated portion of the settlement will be based on the following, all as shown on
Defendant’s records, after all attorneys’ fees, costs, taxes, settlement administration costs, and service awards
have been paid:
(A) Class Claimants Who Are FLSA Claimants. Class Claimants who are FLSA Claimants shall
proportionally share in a fund totaling $482,500, inclusive of tax obligations, taking into account the following
factors: (i) for days worked at or above prevailing wage ($33.05 per hour), an amount reflecting an hourly drive
time rate of $22.50 for all hours punched less the sum of hours actually paid and .5 hours lunch; and (ii) for days
worked below prevailing wage ($33.04 or less), the amount calculated in (i) plus an amount equal to the difference
between eight (8) hours at prevailing wage ($33.05) and the amount actually paid for the day, all as detailed in an
email among counsel dated January 9, 2015.

(B) Class Claimants Who Are Not FLSA Claimants. Class Claimants who are not FLSA Claimants
shall proportionally share in a fund totaling $200,000, inclusive of tax obligations, taking into account their total
completed months of employment during the period December 19, 2006 to February 28, 2015.

 

If you elect to participate in this proposed settlement, you will be paid a proportionate share of the Settlement
Fund based on a formula taking into account the factors set forth above. If you would like information about
the amount of your individual settlement payment, please contact Settlement Administrator, Angeion
Group.

 

The Settlement proposes that Jose Manuel Henriquez and Jose Hector Fuentes, who took a lead role in this
litigation and assisted in its resolution will receive service awards in the amount of $10,000 each.

 

To receive a distribution from the settlement fund, you must timely complete and return the enclosed Claim
Form and Release according to instructions provided on the form, including: (1) an acknowledgement that, by
signing the Claim Form and Release, you elect to participate in this proposed settlement; and (2) a release of claims
consistent with that set forth in paragraph 6 of this Notice. The Claim Form and Release must be personally filled
out by the current or former employee who seeks to participate in the Settlement or someone with a legal right to
act on his or her behalf.

The Claim Form and Release must be properly completed, signed, and mailed to the Settlement
Administrator via First Class United States Mail, post-marked by June 4, 2015 (the “Bar Date’). If you do not
properly complete and timely submit the Claim Form and Release, you will not be eligible to receive any
monetary distribution.

You should keep in mind that if you do not opt out, and if you do not properly and timely complete and
return the Claim Form and Release by the Bar Date, and in accordance with instructions provided on the
form, you will not receive a distribution from the settlement fund, but you will still be bound by the Release
of all NYLL claims as described below.

If you timely return the enclosed claim form to the Settlement Administrator so that it is postmarked by the
June 4, 2015 Bar Date, the Settlement Administrator will make your payment after a Fairness Hearing
is held by the Court.
If the Court grants final approval of the Settlement, this action will be dismissed with prejudice and Class
Members who do not opt out will fully release and discharge Defendants through March 17, 2015 from all
NYLL claims asserted in the Complaint as described below. This means that you cannot sue, continue to sue,
or be party of any other lawsuit against Defendants regarding the NYLL claims brought in this case, although
you may still retain certain Federal claims. It also means that all of the Court’s orders will apply to you and
legally bind you. In addition, by signing the Claim Form and Release, you will forever and fully release
Defendants through March 17, 2015 from all NYLL claims and FLSA claims asserted in the Complaint.

The Release in the Settlement Agreement provides that:

By operation of the entry of the Judgment and Final Approval, and except as to such rights or
claims as may be created by this Agreement each individual Class Member who does not timely
opt-out pursuant to this Agreement forever and fully releases Defendants from Released Rule 23
Class Claims. “Released Rule 23 Class Claims” means all wage and hour and prevailing wage
claims, even if presently unknown or un-asserted, that were or could have been asserted under
federal or state law by or on behalf of Class Members, excluding Class Members who opt-out of the
settlement, for the period December 19, 2006 through March 17, 2015, under New York Labor Law.
The Released Rule 23 Class Claims include all wage and hour and prevailing wage claims that could
be asserted in this Litigation, and any wage and hour claim and retaliation claim that could be
asserted against Releasees under state, federal and local law, including all claims under the New
York Labor Law, relating to the failure to pay wages, prevailing wages, spread of hours, back wages,
overtime, minimum wages, all ‘derivative benefit claims’ (i.e, claims for benefits resulting from
alleged failure to pay overtime or wages, both ERISA and non-ERISA benefits), interest, liquidated
damages, penalties, attorneys’ fees, and any other form of compensation or relief permitted under
any federal, state or local laws.

By operation of the entry of the Judgment and Final Approval, and except as to such rights or
claims as may be created by this Agreement each individual Authorized Class Claimant
(that is, class members who return the Claim and Release Form) forever and fully releases
Defendants from all Released Claims. “Released Claims” means all wage and hour claims, even if
presently unknown or un-asserted, that were or could have been asserted under federal or state law
by or on behalf of Authorized Claimants, in the Litigation for the period December 19, 2006 through
March 17, 2015, including under the Fair Labor Standards Act and New York Labor Law. The
Released Claims include all wage and hour and prevailing wage claims raised in this Litigation, and
any wage and hour claim and retaliation claim that could be asserted against Releasees under state,
federal and local law, including the FLSA and NYLL, relating to the failure to pay wages, prevailing
wages, spread of hours, back wages, overtime, minimum wages, all ‘derivative benefit claims’ (i.¢.,
claims for benefits resulting from alleged failure to pay overtime or wages, both ERISA and non-
ERISA benefits), interest, liquidated damages, penalties, attorneys’ fees, and any other form of
compensation or relief permitted under any federal, state or local laws.

 

If you do not want a payment from this settlement, but you want to keep the right to sue or continue to sue
Defendants, on your own, about the legal issues in this case or which could have been brought in this case, then
you must take steps to exclude yourself from this case.

If you intend to exclude yourself, you must mail a written, signed statement to the Settlement Administrator
stating “I opt out of the wage and hour settlement” and include your name, address, and telephone numbers
(“Opt-out Statement”). To be effective, the Opt-out Statement must be mailed to the Settlement Administrator
via First Class United States Mail, postage prepaid, and postmarked by the Bar Date of June
4, 2015.
Kelco/Elm Settlement Exclusion
c/o Angeion Group
1801 Market Street, Suite 660

Philadelphia, PA 19103

If you exclude yourself from the Lawsuit and Settlement, you will NOT be allowed to object to the settlement
as described in paragraph 12 below.

   

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Unless you exclude yourself, you give up any rights to sue Defendants under federal and state law with regard
to the claims brought in this case or which could have been brought in this case.

 

      

The law firm of Frank & Associates, P.C., 500 Bi-County Blvd., Ste. 112N, Farmingdale, NY 11735 has been
designated as legal counsel to represent you and the other Class Members. These lawyers are called Class
Counsel. They are available to answer your questions regarding the settlement by calling (631) 756-0400 or
emailing promero@laborlaws.com, You will not be charged separately for these lawyers. Their fees are
being paid from the total settlement fund. If you want to be represented by your own lawyer, you may hire one

at your own expense.

   

Class Counsel will ask the Court to approve payment of up to 30% of the settlement fund established by
Defendants to them for attorneys’ fees, plus costs to be paid from the settlement fund. The fees would pay Class
Counsel for all work that they have performed in this action including filing pleadings, engaging in discovery,
investigating the facts, attending court conferences, participating in private mediation, and negotiating and
overseeing the settlement.

        

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You can object to the settlement if you don't like any part of it. You can give reasons why you think the Court
should not approve it. The Court will consider your views. If the Court rejects your objection, you will still be
bound by the terms of the settlement of your claims under New York Law unless you have submitted a valid
and timely request for exclusion. To object, you must send a letter saying that you object to the settlement of
Henriquez, et al. v. Kelco Landscaping, Inc., et al. Your statement must include all reasons for the objection and
any supporting documentation in your possession. Your statement must also include your name, address, and

telephone numbers.

If you wish to present your objection at the fairness hearing described below, you must state your intention to do so
in your written objection. You statement should be as detailed as possible otherwise the court may not allow
you to present reasons for your objection at the fairness hearing that you did not describe in your written
objection. Mail the objection via overnight express with a tracking number, postage prepaid at the address
below. Your objection will not be heard unless it is post-marked by the June 4, 2015
Bar Date.
Kelco/Elm Settlement Objections
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

The Settlement Administrator will share your objection with Class Counsel and Defendant’s counsel and your
objection statement will be filed with the Court.

You may not object to the settlement if you submit a letter requesting to exclude yourself or “opt-out” of the
settlement of the lawsuit.

                

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Objecting is simply telling the Court that you don’t like something about the settlement. You can object only
if you stay in the Class. Excluding yourself form the settlement (“‘opting-out”) is telling the Court that you don’t
want to be part of the Class. If you exclude yourself, you have no basis to object because the case no longer
affects you.

The Court will hold a fairness hearing to decide whether to approve the settlement. Class Counsel will answer
questions the Judge may have. You do not have to come to the hearing, but you are welcome to do so at your
own expense.

If you send an objection, it is not necessary for you to come to Court to talk about it, but you may do so at
your own expense or pay your own lawyer to attend. As long as you mailed your written objection on time, the
Court will consider it. If you do attend the hearing, it is possible that you will not be permitted to speak unless
you timely object in writing as described above and notify the Court of your intention to appear at the fairness
hearing.

   
  

  

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The Court will hold a Fairness Hearing at 9:00 AM on August 11, 2015, at the United States District Court for
the Eastern District of New York, 100 Federal Plaza, Central Islip, NY 11722.

  

At this hearing the Court will consider whether the terms of the settlement are fair, reasonable, and adequate.
If there are objections, the Court will consider them. The Judge will listen to people who have asked to speak
at the hearing. The Court may also decide how much to pay to Class Counsel. After the hearing, the Court will
decide whether to approve the settlement. We do not know how long these decisions will take.

 

This notice summarizes the proposed settlement. More details are in the Settlement Agreement. You can review
the settlement agreement by asking for a copy of the Settlement Agreement by writing or calling the Settlement
Administrator.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOSE MANUEL HENRIQUEZ and JOSE
HECTOR FUENTES, on behalf of themselves
and similarly situated employees,

Plaintiffs, Case No. 12-CV-6233 (ADS)

-against- (GRB)
KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY’S
CREW, JOHN KELLY, JOSEPH
PROVENZANO,

Defendants.

 

CLAIM FORM AND RELEASE

INSTRUCTIONS for COMPENSATION

 

In order to receive any portion of the settlement funds described in the Notice of Pendency
of Class Action and Proposed Settlement (“Notice”), you must sign, date, and return this
Claim Form and Release to the Claims Administrator so that it is postmarked or otherwise
received on or before June 4, 2015.

KELCO/ELM SETTLEMENT
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

 

CHANGES OF ADDRESS

It is your responsibility to keep a current address on file with the Claims Administrator.
Please make sure to notify the Settlement Claims Administrator of any change of address.

KELCO/ELM SETTLEMENT
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103
CLAIM FORM AND RELEASE

THIS FORM MUST BE MAILED AND POST-MARKED TO THE SETTLEMENT CLAIMS
ADMINISTRATOR OR OTHERWISE RECEIVED BY THE CLAIMS ADMINISTRATOR BY

JUNE 4, 2015

A settlement fund is available for qualified individuals who return their paperwork in the matter consistent
with the requirements set within. I understand that this lawsuit is being brought under the Fair Labor
Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. ("FLSA") and New York Labor Law. [hereby
consent and agree to join the case of Jose Manuel Henriquez, et al. v. Kelco Landscaping Inc., et al., No.
12-CV-6233 (Spatt, J.). I consent and agree to be bound by any adjudication of this action by the Court. I
further agree to be bound by the collective and class action settlement herein approved by my attorneys and
approved by this Court as fair, adequate, and reasonable (the “Agreement”). I hereby designate the law
firm of Frank & Associates, P.C., to represent me in this action.

In exchange for a proportionate share of the Settlement Fund subject to the settlement
formula set forth in the Notice and the Agreement, my signature below constitutes a full
and complete release and discharge of Kelco Landscaping Inc., Kelco Landscaping Corp.,
Elm General Construction Corp., Kelly’s Crew, John Kelly, Joseph Provenzano,
individually, their present and former owners, stockholders, predecessors, successors,
assigns, agents, directors, officers, employees, representatives, insurers, attorneys,
parents, subsidiaries, affiliates, benefit plans, plan fiduciaries, and all persons acting by,
through, under or in concert with any of them (“Releasees”) by me and by my respective
heirs, beneficiaries, devisees, legatees, executors, administrators, trustees, conservators,
guardians, personal representatives, successors-in-interest, and assigns, from all wage and
hour claims, even if presently unknown or un-asserted, that were or could have been
asserted under federal or state law by or on my behalf, in the Litigation for the period
December 19, 2006 through the date of my signing this Claim Form and Release, including
under the Fair Labor Standards Act and New York Labor Law. The Released Claims
include all wage and hour and prevailing wage claims raised in this Litigation, and any
wage and hour claim and retaliation claim that could be asserted against Releasees under
state, federal and local law, including the FLSA and NYLL, relating to the failure to pay
wages, prevailing wages, spread of hours, back wages, overtime, minimum wages, all
‘derivative benefit claims’ (i.¢., claims for benefits resulting from alleged failure to pay
overtime or wages, both ERISA and non-ERISA benefits), interest, liquidated damages,
penalties, attorneys’ fees, and any other form of compensation or relief permitted under
any federal, state or local laws.

I declare under penalty of perjury that the above information is correct.

 

 

Name (print) Signature

 

Mailing Address

 

Telephone Number Date
JUZGADO DE DISTRITO DE LOS EE. UU.
DISTRITO ESTE DE NUEVA YORK

 

JOSE MANUEL HENRIQUEZ y JOSE
HECTOR FUENTES, representandose a si
mismos y a los empleados en una situacién

similar,
Caso No. 12-CV-6233 (ADS)

Demandantes,
(GRB)

-contra-

KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY’S
CREW, JOHN KELLY, JOSEPH
PROVENZANO,

Defensa.

 

NOTIFICACION DE PENDENCIA DE DEMANDA COLECTIVA Y LIQUIDACION PROPUESTA

Si usted fue empleado de Kelco Landscaping Inc. o Elm Construction Corp. como paisajista u obrero
desde el 19 de diciembre de 2006 hasta el 28 de febrero de 2015, por favor, lea esta Notificacién.

FECHA: 20 de abril de 2015

POR FAVOR LEA ESTA NOTIFICACION ATENTAMENTE

Esta Notificacién es en relaci6n a Ia liquidacién propuesta de una litigaci6n por demanda colectiva. Se ha
autorizado por un juzgado federal. Contiene informacién importante sobre su derecho a participar en la
litigacién, hacer una reclamacién para el pago o elegir no ser incluido/a en el colectivo.

Introduccion

José Manuel Henriquez y José Héctor Fuentes, antiguos empleados de Kelco o Elm iniciaron una demanda por
el supuesto impago de salario por tiempo extra, salario estandar y otros dafios reclamados contra la Defensa. El
Juzgado a cargo de este caso es el Juzgado de Distrito de los EE. UU. del Juzgado de Distrito de Nueva York. La
demanda se ha denominado Henriquez, y otros contra Kelco Landscaping Inc., y otros. Los demandantes
alegan en la demanda que, entre otros asuntos, la Defensa no les pagé a ellos ni a otros empleados en su
misma situacién tiempo extra por horas trabajadas tras sobrepasar 40 en una semana laboral, salario estandar,
salario minimo y otros salarios pagaderos quebrantando la Ley de Estandares Justos de Trabajo (FLSA) y la
Ley Laboral del Estado de Nueva York (NYLL). La Defensa niega las acusaciones de los Demandantes.

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Aunque la Defensa niega que sea responsable o que deban dafios a nadie, la Defensa ha decidido que es
en el mejor interés para esta resolver las reclamaciones de los demandantes en nombre de los demandantes
y otros paisajistas y obreros en este momento. Los Demandantes y la Defensa han acordado liquidar la
accién sujeto a la aprobacién por parte del Juzgado. La defensa ha acordado pagar un maximo de
1.025.000 $. El Juzgado no ha decidido quién lleva la razon. Sus derechos legales pueden verse afectados y
tiene que tomar una decisi6n en este momento. Estos derechos y opciones se resumen abajo y se explican
completamente en esta Notificacion.

SUS DERECHOS LEGALES Y OPCIONES EN ESTA LIQUIDACION:

 

Como se describe mas a fondo abajo, para participar en la
liquidacién envie un Formulario de Reclamacion y Descarga
rellenado apropiadamente al Administrador de Liquidaciones que
debe ser matasellado antes del final del 4 de junio de 2015. Si no
envia el formulario de Reclamacién y Descarga a tiempo, no recibira
ninguna parte del dinero de la liquidacién.

PARTICIPAR

 

Si desea excluirse (no participar) en la demanda, debe seguir las
EXCLUIRSE instrucciones presentadas en la respuesta a la pregunta numero 7 de
abajo.

 

Escriba al Juzgado sobre el por qué cree que la liquidacién es injusta
o no razonable. Si el Juzgado rechaza su objecion, seguira sujeto/a a
los términos de la liquidacién para las reclamaciones por NYLL a
no ser que envie un Formulario de Solicitud de Exclusion valido a
tiempo. No estar sujeto/a a la liquidaci6n si no participa en esta
demanda como aqui se describe. Si objeta, puede aparecer en la
Audiencia de Equidad para dirigirse al Juzgado en relacion a la
justicia de la liquidacion.

OBJETAR

 

 

 

 

 

Ha recibido esta notificacién porque el registro de la Defensa muestra que ha trabajado para Kelco o Elm como
paisajista u obrero en algin momento durante el 19 de diciembre de 2006 y el 28 de febrero de 2015.

 

Una accion colectiva es una demanda en la que una o mas personas demandan, no solo por si mismas, sino
también por otras personas con reclamaciones similares. Estas otras personas se denominan Miembros del
Colectivo. En una accién colectiva, un juzgado resuelve los problemas para todos los Miembros del
Colectivo, excepto aquellos que se excluyan por si mismos del Colectivo.

 

El Consejo del Colectivo analizé y evalué los méritos de las reclamaciones en contra de la Defensa en la
Litigacién, investigé las politicas pertinentes de salario de la Defensa, analizd datos de salarios de los
Demandantes y una muestra significativa de los Miembros del Colectivo y evalu la supuesta capacidad de la
Defensa para pagar una resolucién. Basado en el andlisis y la evaluacién de estos datos, la ley pertinente y los
considerables riesgos de una litigacién continuada, incluida la posibilidad de que la litigacion, si no fuese liquidada
ahora, podria no resultar en ninguna compensacion, o una compensacién menor y que podria no ocurrir hasta que
pasen varios afios, los Demandantes aceptaron esta liquidacion. El Consejo del Colectivo esta satisfecho respecto
a la ecuanimidad, adecuacién y razonabilidad de este Acuerdo y que este Acuerdo es en el mejor interés de los
Demandantes y los Miembros Putativos del Colectivo. Su parte estimada de la liquidacidn se basara en lo
siguiente, como se muestra en el registro de la Defensa, tras que todos los honorarios de los abogados, costes,
impuestos, costes administrativos de la liquidacion y concesiones por servicio se hayan pagado:

A) Reclamantes del Colectivo que son reclamantes FLSA. Los reclamantes del Colectivo que son
reclamantes FLSA deben compartir proporcionalmente un fondo de 482.500 $, incluidos impuestos, teniendo en
cuenta los siguientes factores: i) por dias trabajados con un salario estandar (33,05 $) o superior, una cantidad que
refleje 22,50$ por todas las horas perforadas, menos la suma de las horas pagadas y 0,5 horas para comer; y ii)
por los dias trabajados por debajo del salario estandar (33,04 $ 0 menos), la cantidad calculada en i) mds una
cantidad igual a la diferencia entre ocho (8) horas al salario estandar (33,05 $) y la cantidad pagada por el dia,
como se detalla en un email del consejo con fecha 9 de enero de 2015.

B) Reclamantes del Colectivo que no son reclamantes FLSA. Los reclamantes del Colectivo que no
son reclamantes FLSA deben compartir proporcionalmente un fondo de 200.000 $, incluidos impuestos, teniendo
en cuenta sus meses completados totales de empleo durante el periodo del 19 de diciembre de 2006 hasta el 28
de febrero de 2015.

 

Si ha elegido participar en esta liquidaciédn propuesta, se le pagara una parte proporcional del Fondo de
Liquidacién basada en una formula que tiene en cuenta los factores arriba indicados. Si quisiera mas
informacién sobre la cantidad del pago de su liquidacién individual, por favor, p6ngase en contacto con el
Administrador de la Liquidacién, Angeion Group.

 

La Liquidacién propone que José Manuel Henriquez y José Héctor Fuentes, que encabezaron esta litigacién
y ayudaron a su resolucion, reciban concesiones por servicio de 10.000 $ cada uno.

 

Para recibir una parte del fondo de liquidacién, debe rellenar y enviar el Formulario de Reclamacién y
Descarga a tiempo de acuerdo con las instrucciones indicadas en el formulario, incluido: 1) un reconocimiento
de que, al firmar el Formulario de Reclamacién y Descarga, elije participar en esta liquidacién propuesta; y 2)
una descarga de las reclamaciones en acuerdo con lo indicado en el parrafo 6 de esta Notificacién. El
Formulario de Reclamacién y Descarga debe rellenarse personalmente por el presente o antiguo empleado que
quiere participar en la Liquidacién o alguien con el derecho legal para actuar en su nombre.

El Formulario de Reclamacion y Descarga debe rellenarse apropiadamente, firmarse y enviar por correo al
Administrador de la Liquidacién mediante First Class United States Mail, matasellarse antes del final del 4 de
junio de 2015 (la «Fecha Limite»). Si no rellena apropiadamente y envia el Formulario de Reclamacién y
Descarga a tiempo, no calificara para recibir ninguna parte de la compensaci6n econdmica.

Debe tener en cuenta que si no se excluye y si no rellena apropiadamente y envia a tiempo el Formulario de
Reclamacién y Descarga antes de la fecha limite, y de acuerdo con las instrucciones indicadas en el
formulario, no recibira una parte del fondo de liquidacién, pero seguira estando sujeto a la Descarga de todas
las reclamaciones de NYLL como se describe abajo.

Si envia el formulario de reclamacién adjunto a tiempo al Administrador de la Liquidacion, con matasellos del
o antes de la fecha limite del 4 de junio de 2015, el Administrador de la Liquidacion realizara su pago tras la
finalizacién de una Audiencia de Equidad llevada a cabo por el Juzgado.
Si el Juzgado otorga una aprobacion final de la Liquidacién, esta accién, esta demanda sera desestimada sin
derecho a apelacién y los Miembros del Colectivo que no se hayan excluido, liberaran and descargaran
completamente a la Defensa desde el 17 de marzo de 2015 de todas las reclamaciones de NYLL establecidas
en la Reclamacion como se describe abajo. Esto significa que no puede demandar, seguir demandando o ser
parte de ninguna otra demanda contra la Defensa sobre las reclamaciones de NYLL Ilevadas a cabo en este
caso, aunque podria retener ciertas reclamaciones federales. También significa que todas las sentencias del
Juzgado seran aplicables a usted y le obligaran legalmente. Ademas, al firmar este Formulario de Reclamacion
y Descarga, descargara para siempre y completamente a la Defensa desde el 17 de marzo de 2015 de todas las
reclamaciones de NYLL y FLSA establecidas en la Reclamacion.

La Descarga en el Acuerdo de Liquidacién establece que:

Por la operacién de emitir Sentencia y la Aprobacién Final y excepto aquellos derechos o
reclamaciones que puedan generarse por este Acuerdo se descarga para siempre y de manera
completa a la Defensa del Decreto de Descarga 23 de Reclamaciones de Colectivo. «Decreto de
Descarga 23 de Reclamaciones de Colectivo» significa todas las reclamaciones de salario y horas
y de salario estandar, incluso si actualmente no se conozcan o no se hayan declarado, que hayan
sido o pudieran haber sido declaradas por ley estatal o federal por o en nombre de los Miembros
del Colectivo, excluidos los Miembros del Colectivo que se hayan excluido de la liquidacién, durante
el periodo del 19 de diciembre de 2006 hasta el 17 de marzo de 2015, seguin la Ley Laboral de Nueva
York. El Decreto de Descarga 23 de Reclamaciones de Colectivo incluye todas las reclamaciones
sobre salario y horas y salario estandar que pudieran ser declaradas en esta Litigacién y cualquier
reclamacion de salario y horas y reclamacion de retaliaci6n que pudiera declararse contra los
Descargados por ley estatal, federal y local, incluidas todas las reclamaciones por la Ley Labora! de
Nueva York, en relacién con el impago de salarios, salarios estandar, horas extendidas, salario
atrasado, tiempo extra y todas las «reclamaciones derivativas de beneficios» (p. ej. reclamaciones
de beneficios resultantes del supuesto impago de horas extra o salarios, tanto de beneficios ERISA
como no ERISA), interés, dafios liquidados, sancién, honorarios de los abogados y cualquier otra
forma de compensacion 0 desagravio permitido bajo cualquier ley federal, estatal o local.

Por la operacién de emitir Sentencia y la Aprobacién y excepto aquellos derechos o
reclamaciones que puedan generarse por este Acuerdo todo Reclamante Autorizado del
Colectivo (es decir, miembros del colectivo que envien el Formulario de Reclamacién y
Descarga) descargan para siempre y completamente a la Defensa de todas las Reclamaciones
Descargadas. «Reclamaciones Descargadas» significa todas las reclamaciones de salario y horas,
incluso si actualmente se desconocen o no se han declarado, que hayan sido o pudieran haber sido
declaradas por ley federal o estatal por o en nombre de los Reclamantes Autorizados, en el Litigio
durante el periodo del 19 de diciembre de 2006 hasta el 17 de marzo de 2015, incluido segun la Ley
de Estandares Justos de Trabajo y la Ley Laboral de Nueva York. Las reclamaciones descargadas
incluyen las reclamaciones de todos los salarios y horas y salarios estandar demandados en esta
Litigacién y cualquier reclamaci6n por retaliacién de salario y horas que pudiera ser reclamada
contra los Descargado por ley estatal, local o federal, incluidas la FLSA y NYLL, en relacién al
impago de salarios, salarios estandar, extensién de horas, salarios atrasados, horas extra, salarios
minimos, todas las «reclamaciones derivativas de beneficios» (p. ej. reclamaciones por beneficios
por el supuesto impago de salarios o tiempo extra, tanto beneficios ERISA como no ERISA), interés,
dafios liquidados, sanciones, honorarios de los abogados y cualquier otra forma de compensacién o
desagravio permitido por cualquier ley federal, estatal o local.
 

 

Si no quiere un pago de esta liquidacién, pero quiere mantener el derecho a demandar o continuar con una
demanda a la Defensa, por si mismo, sobre los problemas legales en este caso, 0 que pudieran haberse
reclamando en este caso, entonces debe tomar las medidas necesarias para excluirse de este caso.

Si quiere excluirse, debe enviar por correo una declaracién por escrito y firmada al Administrador de la
Liquidacién declarando: «Me excluyo de la liquidacién de los salarios y horas» e incluir su nombre, direccién y
numeros de teléfono («Declaracién de Exclusion»). Para que tenga efecto, la Declaracién de Exclusion debe
enviarse por correo al Administrador de la Liquidacién mediante First Class United States Mail, con envio
pagado y con matasellos de o antes de la Fecha Limite del 4 de junio de 2015.

Kelco/Elm Settlement Exclusion
c/o Angeion Group

1801 Market Street, Suite 660
Philadelphia, PA 19103

Si se excluye de la Demanda y Liquidacién, NO podra objetar a la liquidacién como se describe en el parrafo
12 de abajo.

 

A no ser que se excluya, renuncia a todos los derechos para demandar a la Defensa por ley federal y ley estatal
respecto a las reclamaciones Ilevadas a cabo en este caso o que pudieran haberse Ilevado a cabo en este caso.

    

El bufete Frank & Associates, P.C., 500 Bi-County Blvd., Ste. 112N, Farmingdale, NY 11735 ha sido nombrado
como consejero legal para representarle a usted y al resto de los Miembros del Colectivo. Estos abogados se
denominan Consejo del Colectivo. Estan disponibles para resolver sus dudas sobre la liquidacién en el numero
(631) 756-0400 o por el email promero@Jaborlaws.com. No se le cobrara por separado por estos abogados.
Sus honorarios se descuentan del fondo total de liquidacién. Si quiere ser representado por su propio
abogado, puede contratarlo con su propio dinero.

   

ie

El Consejo del Colectivo pedira al Juzgado la aprobacién del pago de hasta un 30 % del fondo de liquidacién
establecido por la Defensa a ellos por los honorarios de abogado, mas costes pagaderos del fondo de liquidacién.
Los honorarios pagarian al Consejo del Colectivo por todo el trabajo que han Ilevado a cabo en esta demanda,
incluidos el envio de alegatos, toma de parte en el descubrimiento, investigacion de los hechos, asistencia a las
conferencias del juzgado, participacion en la mediacién privada y negociacién y supervision de la liquidacion.

 

Puede objetar a la liquidacion si no le gusta cualquier parte de esta. Puede indicar las razones por las que piensa
que el Juzgado no deberfa aprobarla. El Juzgado considerara su opinion. Si el Juzgado rechaza su objecién,
seguira estando sujeto a los términos de la liquidacién de sus reclamaciones por la Ley de Nueva York a no ser
que haya enviado una solicitud de exclusién valida y a tiempo. Para objetar, debe enviar una carta declarando
que objeta a la liquidacion de Henriquez, et al. v. Kelco Landscaping, Inc., et al. Su declaracién debe incluir todas
las razones de la objecién y cualquier documento relevante en su posesion. Su declaracién debe asimismo
incluir su nombre, direccién y numeros de teléfono.
 

Si desea presentar una objecién en la audiencia de equidad abajo indicada, debe declarar su intencién de hacerlo
mediante una objecion por escrito. Su declaracién deberia ser tan detallada como sea posible, porque en caso
contrario el Juzgado podria no permitirle presentar las razones de su objecion en la audiencia de equidad que
usted no indicase en su objecién por escrito. Envie la objecion por correo mediante el servicio de correo urgente
con referencia de seguimiento, envio pagado, a la direccién de abajo. Su objecién no procedera si no es
matasellada antes de o el mismo 4 de junio de 2015, la Fecha Limite.

Kelco/Elm Settlement Objections
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

E] Administrador de la Liquidaci6n compartiré su objecién con el Consejo del Colectivo y el consejo de la
Defensa, y su declaracién de objecion se enviara al Juzgado.

No podra objetar a la liquidacion si envia una carta solicitando ser excluido 0 «no participar» en la liquidacioén
de la demanda.

 

Objetar es simplemente informar al Juzgado de que no le gusta alguna parte de la liquidacién. Puede objetar
solamente si permanece en el Colectivo. Excluirse de la liquidacién («no participar») es decirle al Juzgado que
no quiere ser parte del Colectivo. Si se excluye, no tiene ninguna razén para objetar porque el caso no le afectara.

EI Juzgado llevara a cabo una audiencia de equidad para decidir aprobar o no la liquidacion. El Consejo del
Colectivo respondera a las preguntas que el Juez pueda tener. No tiene que asistir a la audiencia, pero
siéntase bienvenido a asistir por cuenta propia.

Si envia una objecién, no es necesario que asista al Juzgado a hablar sobre ello, pero puede hacerlo a cuenta
propia o pagar a su abogado para que asista. Siempre que haya enviado por correo su objecién a tiempo, el
Juzgado la considerara. Si asiste a la audiencia, es posible que no se le permita hablar a no ser que objete por
escrito a tiempo como se describe arriba y notifique al Juzgado su intencién de aparecer en la audiencia de
equidad.

El Juzgado llevara a cabo una Audiencia de Equidad a las 9:00 a.m. el 11 de Agosto de 2015 en el Juzgado de
Distrito de los EE. UU. para el Distrito Este de Nueva York, 100 Federal Plaza, Central Islip, NY 11722.

 

  

 

 

En esta audiencia el Juzgado considerara si los términos de la liquidacion son justos, razonables y adecuados.
Si hay objeciones, el Juzgado las considerara. El Juzgado escucharé a las personas que hayan pedido tomar la
palabra en la audiencia. El Juzgado también puede decidir cuanto pagar al Consejo del Colectivo. Tras la
audiencia, el Juzgado decidira si aprobar o no la liquidacién. No sabemos cuanto tardaran estas decisiones.

 

Esta notificacién resume la liquidacién propuesta. Mas informacién se puede encontrar en el Acuerdo de
Liquidacién. Puede revisar el acuerdo de liquidacién pidiendo una copia del Acuerdo de Liquidacion por escrito
o llamando al Administrador de la Liquidacion.
 

JUZGADO DE DISTRITO DE LOS EE. UU.
DISTRITO ESTE DE NUEVA YORK

JOSE MANUEL HENRIQUEZ y JOSE
HECTOR FUENTES, representandose a si
mismos y a los empleados en una situacién

similar,
Caso No. 12-CV-6233 (ADS)

Demandantes,
(GRB)

-contra-

KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY’S
CREW, JOHN KELLY, JOSEPH
PROVENZANO,

Defensa.

 

FORMULARIO DE RECLAMACION E INSTRUCCIONES DE
DESCARGA

para COMPENSACION

 

Para recibir cualquier parte de los fondos del acuerdo descritos en la Notificacion de
Pendencia de Demanda Colectiva y Liquidacién Propuesta («Notificacién»), debe firmar,
poner la fecha y devolver este Formulario de Reclamaci6n y Descarga al Administrador de
Reclamaciones de modo que aparezca un matasellos o sea recibido antes del 4 de junio de
2015.

KELCO/ELM SETTLEMENT
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

 

CAMBIOS DE DIRECCION

Es su responsabilidad mantener una direcci6n actualizada en el registro del Administrador de
Reclamaciones Por favor, asegurese de notificar al Administrador de Reclamaciones de Liquidaciones
de cualquier cambio de direccién.

KELCO/ELM SETTLEMENT
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103
 

FORMULARIO DE RECLAMACION Y DESCARGA

ESTE FORMULARIO DEBE ENVIARSE POR CORREO Y RECIBIR UN MATASELLOS O SER
RECIBIDO POR EL ADMINISTRADOR DE RECLAMACIONES ANTES DEL FINAL DEL
4 DE JUNIO DE 2015

Un fondo de liquidacién esta disponible para los individuos que califiquen para ello y que devuelvan los
papeles del concordantes con los requisitos indicados. Entiendo que esta demanda se ha realizado por la
Ley de Estandares Justos de Trabajo de 1938, tras su reforma, 29 U.S.C. § 201, y sigs. (FLSA) y la Ley de
Trabajo de Nueva York. Por la presente consiento y acepto unirme al caso de José Manuel Henriquez, y
otros contra Kelco Landscaping Inc., y otros, No. 12-CV-6233 (Spatt, J.). Consiento y acepto estar
legalmente obligado por cualquier adjudicacién de esta accién por el Juzgado. También acepto estar
legalmente obligado por el colectivo y el acuerdo de demanda colectiva aqui aprobado por mis abogados y
aprobado por este Juzgado como justo, adecuado y razonable (el «Acuerdo»), Por la presente nombro a la
empresa Frank & Associates, P.C., para representarme en esta accion.

A cambio de una parte proporcional del Fondo de Liquidacién sujeto a la formula de
liquidaci6én presentada en la Notificacién del Acuerdo, mi firma abajo constituye una
liberacién y descargo completas de Kelco Landscaping Inc., Kelco Landscaping Corp., Elm
General Construction Corp., Kelly’s Crew, John Kelly, Joseph Provenzano,
individualmente, sus propietarios presentes y pasados, sus accionistas, predecesores,
sucesores, cesionario, agentes, directores, directivos, empleados, representantes,
aseguradores, abogados, matrices, subsidiarias, afiliados, planes de beneficios, planes
fiduciarios y toda persona actuando para, a través, por o en sintonfa con cualquiera de los
(«Descargados») por me y mis herederos respectivos, beneficiarios, legados, ejecutores,
administradores, fideicomisarios, conservadores, guardianes, representantes personales,
sucesores por interés, y cesionarios, de cualquier reclamaci6n de salario y horas, incluso
si en el presente se desconocen o no se han reivindicado, que se hayan podido reivindicar
o se hayan reivindicado por ley estatal o federal por mi o en mi nombre, en la Litigacién
durante el periodo del 19 diciembre de 2006 hasta la fecha de mi firma de este Formulario
de Reclamaci6n y Descarga, incluida la Ley de Estandares Justos de Trabajo y la Ley
Laboral de Nueva York. Las reclamaciones descargadas incluyen las reclamaciones de
todos los salarios y horas y salarios estandar demandados en esta Litigacién y cualquier
reclamacién por retaliacién de salario y horas que pudiera ser reclamadas contra los
Descargados por ley estatal, local o federal, incluidas la FLSA y NYLL, en relacion al
impago de salarios, salarios estandar, extension de horas, salarios atrasados, tiempo extra,
salarios minimos, todas las «reclamaciones derivativas de beneficios» (p. ej. reclamaciones
por beneficios por el supuesto impago de salarios o tiempo extra, tanto beneficios ERISA
como no ERISA), interés, daiios liquidados, sanciones, honorarios de los abogados y
cualquier otra forma de compensacién o desagravio permitido por cualquier ley federal,
estatal o local.

Declaro bajo pena de perjurio que la informacion arriba indicada es correcta.

 

 

Nombre (escrito) Firma

 

Direccién de contacto

 

Numero de teléfono Fecha
Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 22 of 48 PagelD #: 951

Exhibit B
CLAIM FORM AND RELEASE

THIS FORM MUST BE MAILED AND Pos?-MARKED TO THE SETTLEMENT CLAIMS
ADMINISTRATOR OR OTHERWISE RECEIVED BY THE CLAIMS ADMINISTRATOR BY

June 4, 2015

A settlement fund is available for qualified individuals who return their paperwork in the matter
consistent with the requirements set within. I understand that this lawsuit is being brought under the Fair
Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. ("FLSA") and New York Labor Law.
Thereby consent and agree to join the case of Jose Manuel Henriquez, et al. v. Keleo Landscaping Inc., et
ai., No. 12-CV-6233 (Spatt, J.). [consent and agree to be bound by any adjudication of this action by the
Court. [ further agree to be bound by the collective and class action settlement herein approved by my
attomeys and approved by this Court as fair, adequate, and reasonable (the “Agreement”). 1 hereby
designate the law firm of Frank & Associates, P.C., to represent me in this action.

In exchange for a proportionate share of the Setilement Fund subject to the settlement
formula set forth in the Notice and the Agreement, my signature below constitutes a full
and complete release and discharge of Kelco Landscaping Inc., Kelco Landscaping
Corp., Elm General Construction Corp., Kelly’s Crew, John Kelly, Joseph Provenzano,
individually, their present and former owners, stockholders, predecessors, successors,
assigns, agents, directors, officers, employees, representatives, insurers, attorneys,
parents, subsidiaries, affiliates, benefit plans, plan fiduciaries, and all persons acting by,
through, under or in concert with any of them (“Releasees”) by me and by my respective
heirs, beneficiaries, devisces, legatees, executors, administrators, trustees, conservators,
guardians, personal representatives, successors-in-interest, and assigns, from all wage
and hour claims, even if presently unknown or un-asserted, that were or could have been
asserted under federal or state law by or on my behaif, in the Litigation for the period
December 19, 2006 through the date of my signing this Claim Form and Release,
including under the Fair Labor Standards Act and New York Labor Law. The Released
Claims include all wage and hour and prevailing wage claims raised in this Litigation,
and any wage and hour claim and retaliation claim that could be asserted against
Releasees under state, federal and local law, including the FLSA and NYLL, relating to
the failure to pay wages, prevailing wages, spread of hours, back wages, overtime,
minimum wages, all ‘derivative benefit claims’ (4¢., claims for benefits resulting from
alleged failure to pay overtime or wages, both ERISA and non-ERISA benefits), interest,
liquidated damages, penalties, attorneys’ fees, and any other form of compensation or
relicf permitted under any federal, state or local laws.

I declare under penalty of per} ury that the above information is correct.

LEDro_cpsTelloy Crk

 

 

 

Name (print) Ypriature
TUES] UST wa yTineyon  STh- VN 7
ailing Address

6B UBER 6B II oR by Dole

Telephone Number Date
Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 24 of 48 PagelD #: 953
 

Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 25 of 48 PagelD #: 954

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
JOSE MANUEL HENRIQUEZ and JOSE
HECTOR FUENTES, on _ behalf of
themselves and similarly situated employees,
+ tee Case No. 12-CV-6233 (ADS

Plaintiffs, ase xo (

-against-

KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY’S

CREW, JOHN KELLY, JOSEPH
PROVENZANO,

i (GRB)

Detendants.

CLAIM FORM AND RELEASE

INSTRUCTIONS for COMPENSATION

In order to reccive any portion of the settlement funds described in the Notice of Pendency
of Class Action and Proposed Settlement (“Notice”), you must sign, date, and return this
Claim Form and Release to the Claims Administrator so that it is postmarked or otherwise
received on or before June 4, 2015,

KELCO/ELM SETTLEMENT
c/o Angeion Group
18Q1 Market Street, Suite 660
Philadelphia, PA 19103

 

CHANGES OF ADDRESS

Itis your responsibility to keep a current address on file with the Claims Administrator.
Please make sure to notify the Settlement Claims Administrator of any change of address.

KELCO/ELM SETTLEMENT
c/o Angeion Group
1801 Market Strect, Suite 660
Philadelphia, PA 19103
 

Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 26 of 48 PagelD #: 955
li. Why did I receive this motice?, vb

 

Although Defendants deny that they are liable or owe damages to anyone, Defendants have concluded
that it is in their best interests at this time to resolve Plaintiffs’ claims on behalf of Plaintiffs and other
landscapers and laborers. Plaintiffs and Defendants have agreed to scttle the action subject to the approval
of the Court. Defendants have agreed to pay a maximum of $1,025,000. The Court has not decided who is
right and who is wrong. Your legal rights may be affected, and you have a choice to make now. These
rights and options are summarized below and fully explained in this Notice.

YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

 

As described more fully below, to participate in the settlement send
a properly completed Claim Form and Release to the Settlement
PARTICIPATE Administrator that must be postmarked by June 4, 2015. If you
fail to submit a timely Claim Form and Release, you will receive
no monetary distribution from the settlement.

 

If you wish to exclude yourself (“opt-out’) from the lawsuit you
must follow the directions outlined in response to question 7
below.

EXCLUDE
YOURSELF

 

Write to the Court about why you believe the settlement is unfair
ot unreasonable. If the Court rejects your objection, you will still
be bound by the terms of the settlement for claims under NYILL
unless you submit a valid and timely Request for Exclusion lonn.
You will not be bound by the settlement if you opt-out of this
action as described herein. If you object you may appear at the
Fairness Hearing to speak to the Court about the fairness of the
settlement.

OBJECT

 

 

 

1
|

I
}

 

You have received this notice because Defendants’ records show that you worked for Kelco and/or Elm as a
landscaper or laborer sometime between December 19, 2006 and February 28. 2015.

 

[2. What is a class action? ions nek P oS pe |

A class action is a lawsuit where one or more persons sue not only for themselves. but also for

other people who have similar claims. These other people arc known as Class Members, In a ciass action,
one court resolves the issues for all Class Members, except for those who exclude themselves from the
Class.

[3. Why is there ascttlement?, gO 8)  e
Class Counsel analyzed and evaluated the merits of the claims made against Defendants in the | itigation.
investigated Defendants’ pertinent payroll policies, analyzed payroll data for Plaintiffs and a significant
sample of the putative Class Members and evaluated Defendants’ ability to pay a judgment. Based upon
their analysis and evaluation of this data, relevant law, and the substantial risks of continued litigation.
including the possibility that the litigation, if not settled now, might not result in any recovery whatsoever, or
might result in a recovery that is less favorable and that would not occur for several years, Plaintiffs
entered into this proposed settlement. Class Counsel is satisfied that the terms: and conditions of this
Agreement are fair, reasonable and adequate and that this Agreement is in the best interest of the Plaintitfs

 
 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOSE MANUEL HENRIQUEZ and JOSE
HECTOR FUENTES, on behalf of
themselves and similarly situated employees,

¢ No. 12-CV-6233 (ADS
Plaintiffs, Case No (

~against- (GRB)
KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY’S
CREW, JOHN KELLY, JOSEPH
PROVENZANO,

Defendants.

 

NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT

If you were employed by Kelco Landscaping Inc. and/or Elm Construction Corp. as a landscaper
and/or laborer from December 19, 2006 to February 28, 2015, please read this Notice.

DATED: April 20, 2015

PLEASE READ THIS NOTICE CAREFULLY
This Notice relates to a proposed settlement of a class and collective action litigation. It has been
authorized by a federal court, It contains important information as to your right to participate in the
settlement, make a claim for payment or elect not to be included in the class.

Introduction

 

Jose Manuel Henriquez and Jose Hector Fuentes, former employees of Kelco and/or Elm initiated a lawsuit
for allegedly unpaid overtime wages, prevailing wages and other claimed damages against Defendants. The
Court in charge of this case is the United States District Court for the Eastern District of New York. The
lawsuit is known as Henriquez, et al. y. Kelco Landscaping Inc., et al. Plaintiffs allege in the lawsuit that,
among other things, Defendants failed to pay them and other similarly situated employees overtime for hours
worked over 40 in a workweek, prevailing wages, minimum wages, and other wages due in violation of the

’ Fair Labor Standards Act (“FLSA”) and New York State Labor Law (“NYLL”). Defendants deny the
Plaintiffs’ allegations.
 

and Putative Class Members. Your estimated portion of the settlement will be based on the following, all
as shown on Defendant's records, after all attorneys’ fees, costs, taxes, settlement administration costs, and
service awards have been paid:

(A) Class Claimants Who Are FLSA Claimants. Class Claimants who are FLSA Claimants shall
proportionally share in a fund totaling $482,500, inclusive of tax obligations, taking into account the following
factors: (i) for days worked at or above prevailing wage ($33.05 per hour), an amount reflecting an hourly drive
time rate of $22.50 for all hours punched less the sum of hours actually paid and .5 hours lunch; and (ii) for
days worked below prevailing wage ($33.04 or less), the amount calculated in (i) plus an amount cqual to the
difference between eight (8) hours at prevailing wage ($33.05) and the amount actually paid for the day, all as
detailed in an email among counsel dated January 9, 2015,

(B) Class Claimants Who Are Not FLSA Claimants. Class Claimants who are not FLSA Claimants
shall proportionally share in a fund totaling $200,000, inclusive of tax obligations, taking into account their total
completed months of employment during the period December 19, 2006 to February 28, 2015.

 

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If you elect to participate in this proposed settlement, you will be paid a proportionate share of the
Settlement Fund based on a formula taking into account the factors set forth above. If you would like
information about the amount of your individual settlement payment, please contact Settlement
Administrator, Angeion Group.

 

   

5, Payment to Class Representatives 00

The Settlement proposes that Jose Manuel Henriquez and Jose Hector Fuentes, who took a lead role in this
litigation and assisted in its resolution will receive service awards in the amount of $10,000 each.

 

 

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(6. Procedures gy an =|

ae hy,

To receive a distribution from the settlement fund, you must timely complete and return the enclosed Claim
Form and Release according to instructions provided on the form. including: (1) an acknowledgement that, by
signing the Claim Form and Release, you elect to participate in this proposed settlement: and (2) a release of
claims consistent with that set forth in paragraph 6 of this Notice. The Claim Form and Release must be
personally filled out by the current or former employee who secks to participate in the Settlement or someone
with a legal right to act on his or her behalf.

The Claim Form and Release must be properly completed, signed, and mailed to the Settlement
Administrator via First Class United States Mail, post-marked by June 4, 2015 (the “Bar Date’). [If you do
not properly complete and timely submit the Claim Form and Release, you will not be cligible to receive any
monetary distribution.

You should keep in mind that if you do not opt out, and if you do not properly and timely complete and
return the Claim Form and Release by the Bar Date, and in accordance with instructions provided on the
form, you will not receive a distribution from the settlement fund, but you will still be bound by the Release
of all NYLL claims as described below.

{f you timely return the enclosed claim form to the Settlement Administrator so that it is postmarked by the
June 4, 2015 Bar Date. the Settlement Administrator will make your payment after a Faimess Hearing
is held by the Court.
 

If the Court grants final approval of the Settlement, this action will be dismissed with prejudice and Class
Members who do not opt out will fully release and discharge Defendants through March 17, 2015 from all
NYLL claims asserted in the Complaint as-described below. This means that you cannot sue, continue to sue,
or be party of any other lawsuit against Defendants regarding the NYLL claims brought in this case, although
you may still retain certain Federal claims. It also means that all of the Court’s orders will apply to you and
legally bind you. In addition, by signing the Claim Form and Release, you will forever and fully release
Defendants through March 17, 2015 from all NYLL claims and FLSA claims asserted in the Complaint.

The Release in the Settlement Agreement provides that:

By operation of the entry of the Judgment and Final Approval, and except as to such rights or
claims as may be created by this Agreement each individual Class Member who does not timely
opt-out pursuant to this Agreement forever and fully releases Defendants from Released Rule 23
Class Claims. “Released Rule 23 Class Claims” means all wage and hour and prevailing wage
claims, even if presently unknown or un-asserted, that were or could have been asserted under
federal or state law by or on behalf of Class Members, excluding Class Members who opt-out of
the settlement, for the period December 19, 2006 through March 17, 2015, under New York Labor
Law. The Released Rule 23 Class Claims include all wage and hour and prevailing wage claims
that could be asserted in this Litigation, and any wage and hour claim and retaliation claim that
could be asserted against Releasces under state, federal and local law, including all claims under
the New York Labor Law, relating to the failure to pay wages, prevailing wages, spread of hours,
back wages, overtime, minimum wages, all ‘derivative benefit claims’ (i¢., claims for benefits
resulting from alleged failure to pay overtime. or wages, both ERISA and non-ERISA benefits),
interest, liquidated damages, penalties, attorneys’ fees, and any other form of compensation or
relief permitted under any federal, state or local laws.

By operation of the entry of the ‘Judgment and Final Approval, and except as to such rights
or claims as may be created by this Agreement each individual Authorized Class Claimant
(that is, class members who return the Claim and Release Form) forever and fully releases
Defendants from all Released Claims. “Released Claims” means all wage and hour claims, even
if presently unknown or un-asserted, that were or could have been asserted under federal or state
law by or on behalf of Authorized Claimants, in the Litigation for the period December 19, 2006
through March 17, 2015, including under the Fair Labor Standards Act and New York Labor
Law, The Released Claims include all wage and hour and prevailing wage claims raised in this
Litigation, and any wage and hour claim and retaliation claim that could be asserted against
Releasees under state, federal and local law, including the FLSA and NYLL, relating to the failure
to pay wages, prevailing wages, spread of hours, back wages, overtime, minimum wages, all
“derivative benefit claims’ (i.¢., claims for benefits resulting from alleged failure to pay overtime
or wages, both ERISA and non-ERISA benefits), interest, liquidated damages, penalties,

attorneys’ fees, and any other form of compensation or relief permitted under any federal, state or
local laws.

  

How Do bExchide Myself Krom Phe Settlement? Na Pe ee ee

If you do not want a payment from this settlement, but you want to keep the right to sue or continue to sue
Defendants, on your own, about the legal issues in this case or which could have been brought in this case,
then you must take steps to exclude yourself from this case.

 

 
If you intend to exclude yourself, you must mail a written, signed statement to the Settlement Administrator
stating “I opt out of the wage and hour settlement” and include your name, address, and telephone numbers
(“Opt-out Statement”), To be effective, the Opt-out Statement must be mailed to the Settlement
Administrator via First Class United States Mail, postage prepaid, and postmarked by the Bar
Date of June 4, 2018.

Kelco/Elm Settlement Exclusion
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

if you exclude yourself fram the Lawsuit and Settlement, you will NOT be allowed to object to the settlement
as described in paragraph 12 below.

 

[8. If I don’t exclude myself from the settlement;can Lsue Defendants for the same thing later? |

Unless you exclude yourself. you give up any rights to sue Defendants under federal and state law with regard
to the claims brought in this case or which could have been brought in this case.

 

9, If Texclude myself, can I get moncy from this settlément?: Boe he SO L |

No. you exclude yourself, vou will not receive any money from this lawsuit.

 

110. Do I have a lawyer in this case? 0 Pi Se eae ad

The law firm of Frank & Associates, P.C.. 500 Bi-County Blvd., Ste. | 12N, Farmingdale, NY 11735 has been
designated as legal counsel to represent you and the other Class Members. These lawyers are called Class
Counsel. They are available to answer your questions regarding the settlement by calling (631) 756-0400 or
emailing promero@laborlaw You will not be charged separately for these lawyers. Their fees are

being paid from the total settlement find. [f you want to be represented by your own lawyer, you may hire
one at your own expense.

 

 

(11. How will Class Counsel andthe service providers be paid? |
Class Counsel will ask the Court to approve payment of up to 30% of the settlement fund established by
Defendants to them for attorneys’ fees. plus costs to be paid from the settlement fund. The fees would pay
Class Counsel for all work that they have performed in this action including filing pleadings. engaging in
discovery. investigating the facts. attending court conferences. participating in private mediation. and negotiating
and overseeing the settlement.

 

 

 

 

112. How do I tell the Court that I don’t like the settlement?) © dt
You can object to the settlement if you don't like any part of it. You can give reasons why: you think the Court
should not approve it. The Court will consider your views. If the Court rejects your objection, you will still be
bound by the terms of the settlement of your claims under New York Law unless you have submitted a valid
and timely request for exclusion. To object, you must send a letter saying that you object to the settlement of
Henriquez, et al. v. Kelco Landscaping, Inc., et al. Your statement must include all reasons for the objection
and any supporting documentation in your possession. Your statement must also include your name. address.
and telephone numbers.

If you wish to present your objection at the fairness hearing described below, you must state your intention to do 80
in your written objection. You statement should be as detailed as possible otherwise the court may not allow
you to present reasons ‘for your objection at the faimess hearing that you did not describe in your written
objection. Mail the objection via overnight express with a tracking number, postage prepaid at the address
 

below. Your objection will not be heard unless it is post-marked by the June 4, 2015
Bar Date.

Kelco/Eim Settlement Objections
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

The Settlement Administrator will share your objection with Class Counsel and Defendant’s counsel and your
objection statement will be filed with the Court.

You may not object to the settlement if you submit a letter requesting to exclude yourself or “opt-out” of the
settlement of the lawsuit.

 

    

13. Whitls the differchds hetweén objecting and Gliding? LE ee =

Objecting is simply telling the Court that you don’t like something about the settlement. You can object only
if you stay in the Class. Excluding yourself form the settlement (“opting-out”) is telling the Court that you don’t

want to be part of the Class. If you exclude yourself, you have no basis to object because the case no longer
affects you.

The Court will hold a fairness hearing to decide whether to approve the settlement. Class Counsel will

answer questions the Judge may have. You do not have to come to the hearing, but you are welcome to do so at
your own expense.

If you send an objection, it is not necessary for you to come to Court to talk about it, but you may do so at
your own expense or pay your own lawyer to attend. As long as you mailed your written objection on time, the
Court will consider it. If you do attend the hearing, it is possible that you will not be permitted to speak

unless you timely object in writing as described above and notify the Court of your intention to appear at the
fairness hearing.

   

  

dds. Whenand where wi

The Court will hold a Fairness Hearing at 9:00 AM on August 11, 2015, at the United States District Court
for the Eastern District of New York, 100 Federal Plaza, Central Islip, NY 11722.

At this hearing the Court will consider whether the terms of the settlement are fair, reasonable, and adequate.
If there are objections, the Court will consider them. The Judge will listen to people who have asked to speak
at the hearing. The Court may also decide how much to pay to Class Counsel. After the hearing, the Court will
decide whether to approve the settlement. We do not know how long these decisions will take.

 

This notice summarizes the proposed settlement, More details are in the Settlement Agreement. You can
review the settlement agreement by asking for a copy of the Settlement Agreement by writing or calling the
Settlement Administrator.
acusaciones de los Demandantes.

Aunque la Defensa niega que sea responsable o que deban dafios a nadie, la Defensa ha decidido que es
en el mejor interés para esta resolver las reclamaciones de los demandantes en nombre de los
demandantes y otros paisajistas y obreros cn este momento. Los Demandantes y la Defensa han
acordado liquidar la accién sujeto a la aprobacién por parte del Juzgado. La defensa ha acordado pagar
un maximo de 1.025.000 $. [1 fuzgado no ha decidido quién Neva la razén. Sus derechos legales pueden
verse afectados y tiene que tomar una decisién en este momento. Estos derechos y opciones se resumen
abajo y se explican completamente en esta Notificacién.

SUS DERECHOS LEGALES Y OPCIONES EN ESTA LIQUIDACION:

 

Como se describe mas a fondo abajo, para participar en la
liquidaci6n envic un Formulario de Reclamacién y Descarga
rellenado apropiadamente al Administrador de Liquidaciones que
debe ser matasellado antes del final de] 4 de junio de 2015. Si no
envia el formulario de Reclamacién y Descarga a tiempo, no

recibira ninguna parte del dinero de la liquidacisn.

PARTICIPAR

 

Si desea excluirse (no participar) en la demanda. debe seguir las
EXCLUIRSE instrucciones presentadas en la respucsta a la pregunta ntimero 7 de
abajo.

 

Escriba al Juzgado sobre el por qué cree que la liquidacion es
injusta o no razonable. Si el Juzgado rechaza su objecion, seguiré
sujeto/a a los términos de la liquidacién para las reclamaciones por
NYLL a no ser que envie un Formulario de Solicitud de Exclusion
valido a tiempo. No estara sujeto/a a la liquidacion si no participa
en esta demanda como aqui se describe. Si objeta, puede aparecer
en la Audiencia de Equidad para dirigirse al Juzgado en relacion a |
la justicia de la liquidacion.

OBJETAR

 

 

 

 

 

 

 

 

 

 

 

 

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Ha recibido esta notificacion porque el registro de la Defensa muestra que ha trabajado para Kelco o Elm
como paisajista u obrero en algun momento durante el 19 de diciembre de 2006 y e} 28 de febrero de 2015.

 

(1. _ gPor qué he retibido esta notificacion?.

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(2. ¢Qué es una accion colectiva?: Ss ge

Una accién colectiva es una demanda en la que una o mas personas demandan. no solo por si mismas. sino
también por otras personas con reclamaciones similares. Estas otras personas se denominan Miembros del
Colectivo. En una accién colectiva, un juzgado resuelve los problemas para todos los Miembros del
Colectivo, excepto aquellos que se excluyan por si mismos del Colectivo.

(3, Por qué hay una liquidacién? . « Mee s, hy |
£1] Consejo del Colectivo analizd y evalua los méritos de las reclamaciones en contra de Ja Defensa en la
Litigacién, investig6 las politicas pertinentes de salario de la Defensa, analizo datos de salarios de los
Demandantes y una muestra significativa de los Miembros del Colectivo y evalu la supuesta capacidad de la
Defensa para pagar una resolucién. Basado en el analisis y la evaluacién de estos datos, la ley pertinente y los
considerables riesgos de una litigacién continuada, incluida la posibilidad de que la litigacton, si no fuese
liquidada ahora, podria no resultar en ninguna compensacién, 0 una compensacion menor y que podria no

 

    
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DISTRITO ESTE DE NUEVA YORK

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JOSE MANUEL HENRIQUEZ y rose i
HECTOR FUENTES, representandose a si
mismos y a los empleados en wna situacién

similar,
Caso No. 12-CV-6233 (ADS)

Demandantes,
(GRB)

-contra-

KELCO LANDSCAPING INC., KELCO
LANDSCAPING CORP., ELM GENERAL
CONSTRUCTION CORP., KELLY’S
CREW, JOHN KELLY, JOSEPH
PROVENZANO,

 

 

 

 

Defensa.

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NOTIFICACION DE PENDENCIA DE DEMANDA COLECTIVA Y LIQUIDACION PROPUESTA

Si usted fue empleado de Kelco Landscaping Inc. o Elm Construction Corp. como paisajista u obrero
desde el 19 de diciembre de 2006 hasta el 28 de febrero de 2015, por favor, lea esta Notificacién.

FECHA: 20 de abril de 2015

POR FAVOR LEA ESTA NOTIFICACION ATENTAMENTE

Esta Notificacién es en relacién a la liquidacién propuesta de una litigacion por demanda colectiva. Se ha
autorizado por un juzgado federal. Contiene informacion importante sobre su derecho a participar en la
litigacién, hacer una reclamacién para el pago o elegir no ser incluido/a en el colectivo.

Introduccion

José Manuel Henriquez y José Héctor Fuentes, antiguos empleados de Kelco o Elm iniciaron una demanda
por el supuesto impago de salario por tiempo extra, salario estandar y otros dafios reclamados. contra la
Defensa. El Juzgado a cargo de este caso es el Juzgado de Distrito de los EE. UU. del Juzgado de Distrito de
Nueva York. La demanda se ha denominado Henriquez, y otros contra Kelco Landscaping Inc., y otros. Los
demandantes alegan en la demanda que, entre otros asuntos, la Defensa no les pag6 a ellos ni a otras
empleados en su misma situacién tiempo extra por horas trabajadas tras sobrepasar 40 en una semana
laboral, salario estandar, salario minimo y otros salarios pagaderos quebrantando la Ley de Estandares
Justos de Trabajo (FLSA) y la Ley Laboral del Estado de Nueva York (NYLL). La Defensa niega las

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ocurrir hasta que pasen varios afios, los Demandantes aceptaron esta liquidacion. El Consejo del Celectivo esta
satisfecho respecto a la ecuanimidad, adecuacién y razonabilidad de este Acuerdo y que este Acuerdo es en el
mejor interés de los Demandantes y los Miembros Putativos del Colectivo. Su parte estimada de Ia liquidacién.
se basard en lo siguiente, como se muestra en el registro de la Defensa, tras que todos los honorarids de los
abogados, costes. impuestos, costes administrativos de la liquidacién y concesiones por servicio sé hayan

pagado:

 

A) Reclamantes del Colectivo que son reclamantes FLSA. Los reclamantes del Colectivo que son
reclamantes FLSA deben compartir proporcionalmente un fondo de 482.500 $, incluidos impuestos, teniendo ‘yn
cuenta los siguientes factores: i) por dias trabajados con un salario estandar (33,05 $) 0 superior, una cantidad
que refleje 22,508 por todas las horas perforadas, menos la suma de las horas pagadas y 0,5 horas para comer; ys,
ii) por los dias trabajados por debajo del salario estandar (33,04 $ 0 menos), la cantidad calculada en 1) mas una ‘
cantidad igual a la diferencia entre ocho (8) horas al salario estandar (33,05 $) y la cantidad pagada por el dia,
como se detalla en un email del consejo con fecha 9 de enero de 2015.

B) Reclamantes del Colectivo que no son reclamantes FLSA. Los reclamantes del Colectivo que no
son reclamantes FLSA deben compartir proporcionalmente un fondo de 200.000 $, incluidos impuestos,
teniendo en cuenta sus meses completados totales de empleo durante el periodo del 19 de diciembre de 2006
hasta el 28 de febrero de 2015.

 

Si ha elegido participar en esta liquidacién propuesta, se le pagard una parte proporcional del Fondo de
Liquidacion basada en una formula que tiene en cuenta los factores arriba indicados. Si quisiera mas
informacion sobre la cantidad del pago de su liquidacién individual, por favor, pongase en contacto con el
Administrador de la Liquidacién, Angeion Group.

 

 

4, Pago al Colectivo ©

 

 

 

(5. Pago alos representantes del Colectivo: (One Re es ed

La Liquidacién propone que José Manuel Henriquez y José Héctor Fuentes, que encabezaron esta litigacion
y ayudaron a su resolucin, reciban concesiones por servicio de 10.000 $ cada una.
fe 6. Proceso |

Para recibir una parte del fondo de liquidacién, debe rellenar y enviar el Formulario de Reclamacion y
Descarga a tiempo de acuerdo con las instrucciones indicadas en el formulario. incluido: 1) un
reconocimiento de que. al firmar el Formulario de Reclamacion y Descarga, elije participar en esta
liquidacion propuesta: y 2) una descarga de las reclamaciones en acuerdo con lo indicado en el parrafo 6 de
esta Notificacion. El Formulario de Reclamacién y Descarga debe rellenarse personalinente por el presente 0
antiguo empleado que quiere participar en la Liquidacién o alguien con el derecho legal para actuar en su

nombre.

 

Ul Formulario de Reclamacién y Descarga debe rellenarse apropiadamente. firmarse y enviar por correo a
Administrador de la Liquidacién mediante First Class United States Mail, matasellarse antes del t inal del 4 t c
junio de 2015 (la «Fecha Limite»). Si no rellena apropiadamente y envia el Formulario de Reelamacion 5
Descarga a tiempo. no calificara para recibir ninguna parte de la compensacion economica.

Debe tener en cuenta que si no se excluye y si no rellena apropiadamente y envia a tiempo el Formulae
de Reclamacion y Descarga antes de la fecha limite, y de acuerdo con las instrucciones indicas as ¢ S
formulario. no recibira una parte del fondo de liquidacion, pero seguira estando sujeto a la Descarga
todas las reclamaciones de NYLL como se describe abajo.
 

Si envia el formulario de reclamacién adjunto a tiempo al Administrador de la Liquidacion, con matasellos
del o antes de la fecha limite del 4 de junio de 2015, el Administrador de la Liquidacién realizara su pago tras
la finalizacién de una Audiencia de Equidad Ilevada a cabo por el Juzgado.

Si el Juzgado otorga una aprobacién final de la Liquidacién, esta accion, esta demanda ser4 desestimada sin
derecho a apelacion y los Miembros del Colectivo que no se hayan excluido, liberaran and descargaran
completamente a la Defensa desde el 17 de marzo de 2015 de todas las reclamaciones de NYLL establecidas
en la Reclamaci6n como se describe abajo. Esto significa que no puede demandar, seguir demandando o ser
parte de ninguna otra demanda contra la Defensa sobre las reclamaciones de NYLL {levadas a cabo en este
caso, aunque podria retener ciertas reclamaciones federales, ‘ambién significa que todas las sentencias del
Juzgado serin aplicables a usted y le obligaran legalmente. Ademds, al firmar este Formulario de
Reclamacién y Descarga, descargara para siempre y completamente a la Defensa desde e] 17 de marzo de
2015 de todas las reclamaciones de NYLL y FLSA establecidas en la Reclamacién.

La Descarga en el Acuerdo de Liquidacién establece que:

Por la operacién de emitir Sentencia y la Aprobacién Final y excepto aquellos derechos oa
reclamaciones que puedan generarse por este Acuerdo se descarga para siempre y de manera
completa a la Defensa del Decreto de Descarga 23 de Reclamaciones de Colectivo. «Decreto de
Descarga 23 de Reclamaciones de Colectivo» significa todas las reclamaciones de salario y horas y de
salario estindar, incluso si actualmente no se conozcan o no se hayan declarado, que hayan sido o
pudieran haber sido declaradas por ley estatal o federal por o en nombre de los Miembros del
Colectivo, excluidos los Miembros del Colectivo que se hayan excluido de Ja liquidacién, durante el
periodo del 19 de diciembre de 2006 hasta el 17 de marzo de 2015, segin la Ley Laboral de Nueva
York. El Decreto de Descarga 23 de Reclamaciones de Colectivo incluye todas las reclamaciones sobre
salario y horas y salario estandar que pudieran ser declaradas en esta Litigacién y cualquier
reclamacién de salario y boras y reclamacién de retaliacién que pudiera declararse contra los
Descargados por ley estatal, federal y local, incluidas todas las reclamaciones por la Ley Laboral de
Nueva York, en relacién con el impago de salarios, salarios estandar, horas extendidas, salario
atrasado, tiempo extra y todas las «reclamaciones derivativas de beneficios» (p. ej. reclamaciones de
beneficios resultantes del supuesto impago de horas extra 0 salarios, tanto de beneficios ERISA como
no ERISA), interés, dafios liquidados, sancién, honorarios de los abogados y cualquier otra forma de
compensacién o desagravio permitido bajo cualquier ley federal, estatal o local.

Por la operacién de emitir Sentencia y la Aprobacién y excepto aquellos derechos 0 reclamaciones
que puedan generarse por este Acuerdo todo Reclamante Autorizado del Colective (es decir,
miembros del colectivo que envien el Formulario de Reclamacién y Descarga) descargan para
siempre y completamente a la Defensa de todas las Reclamaciones Descargadas, «Reclamaciones
Descargadas» significa todas las reclamaciones de salario y horas, incluso si actualmente se desconocen
0 no se han declarado, que hayan sido o pudieran haber sido declaradas por ley federal 0 estatal por o
en nombre de los Reclamautes Autorizados, en el Litigio durante el periodo del 19 de diciembre de
2006 hasta el 17 de marzo de 2015, incluido segin la Ley de Estandares Justos de Trabajo y la Ley
Laboral de Nueva York. Las reclamaciones descargadas incluyen las reclamaciones de todos los
salarios y horas y salarios estandar demandados en esta Litigacién y cualquier reclamacién por
retaliacién de salario y horas que pudiera ser reclamada contra los Descargado por ley estatal, local o
federal, incluidas la FLSA y NYLL, en relacién al impago de salarios, salarios estandar, extensién de
horas, salarios atrasados, horas extra, salarios minimos, todas las «reclamaciones derivativas de
beneficios» (p. ej. reclamaciones por beneficios por el supuesto impago de salarios o tiempo extra,
tanto bencficios ERISA como no ERISA), interés, dafios liquidados, sanciones, honorarios de los

abogados y cualquier otra forma de compensacién o desagravio permitido por cualquier ley federal,
estatal o local. ,
 

 

 

7.  ~Cémo me excliryo de la:liquidacién? ©

   

Si no quiere un pago de esta liquidacion, pero quiere mantener el derecho a demandar 0 continuar con una
demanda a la Defensa, por si mismo, sobre los problemas legales en este caso, o que pudieran haberse
reclamando en este caso, entonces debe tomar las medidas necesarias para excluirse de este caso.

Si quiere excluirse, debe enviar por correo una declaracién por escrito y firmada al Administrador de la
Liquidacién dectarando: «Me excluyo de la liquidacién de los salarios y horas» ¢ incluir su nombre, direccion y
numeros de teléfono («Declaracién de Exclusion»). Para que tenga efecto, la Declaracién de Exclusion debe
enviarse por correo al Administrador de la Liquidacién mediante First Class United States Mail, con envio
pagado y con matasellos de o antes de Ja Fecha Limite del 4 de junio de 2015.

Kelco/lIm Settlement Exclusion
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

Si se excluye de la Demanda y Liquidacién, NO podra abjetar a la liquidaci6n como se describe en el parrafo
12 de abajo.

 

[§. Sino me exchuyo de la liquidacién, gpuedo demandar'a la Defensa por lo mismo.después? —_|

A no ser que se excluya. renuncia a todos los derechos para demandar a la Defensa por ley federal y ley estatal
respecto a las reclamaciones Hevadas a cabo en este caso o que pudieran haberse llevado a cabo en este caso.

 

 

[9, Sime excluyo, zpuedo recibir dinero por esta liqhidacién? |

No. Si se excluye. no recibiré ningun dinero por esta demanda.

(10. ;Tengo un abogado en este caso? 80 e Te eS |
EI bufete Frank & Associates, P.C.. 500 Bi-County Blvd, Ste. 112N. Farmingdale, NY 11735 ha sido nombrado

como consejero legal para representarle a usted y al resto de Jos Miembros del Colectivo. Estos abogados se
denominan Consejo del Colectivo. Estan disponibles para resolver sus dudas sobre la liquidacion en el
numero (631) 756-0400 o por el email promero@laborlaws.com. No se le cobrara por separado por estos
abogados. Sus honorarios se descuentan del fondo total de liquidacién. Si quiere ser representado por su

propio abogado. puede contratarlo con su propio dinero.

 

 

     

   

 

 

 

 

(11, ;Cémo se pagar4 al Consejo del Coléctivo ya los proveedores de servicios? ed
E:1 Consejo del Colectivo pedira al Juzgado la aprobacién del pago de hasta un 30 % del fondo de liquidacion
establecido por la Defensa a ellos por los honorarios de abogado, mas costes pagaderos del fondo de liquidactan,
Los honorarios pagarian al Consejo del Colectivo por todo el trabajo que han llevado a cabo en esta demanda.
incluidos el envio de alegatos. toma de parte en el descubrimiento, investigacién de los hechos, asistencia a las
conferencias del juzgado. participacion en la mediacion privada y negociacion y supervision de Ja liquidacion.

 

 

 

 

 

|12.. gCémo le comunico al Juzzado que nos egusta la-liquidaci6n? 90 ae ue J
Puede objetar a la liquidacién si no le gusta cualquier parte de esta. Puede indicar las razones por as ae
piensa que el Juzgado no deberia aprobarla. El Juzgado considerara su opinion. Si el Juzgado rel wa se
objecion, seguira estando sujeto a los términos de la liquidacién de sus reclamaciones por la Ley ' ct ueva
York a no ser que haya enviado una solicitud de exclusion valida y a tiempo. Para objetar, debe enviar we
carta declarando que objeta a la liquidacion de Henriquez, et al. v. Kelco Landscaping, Inc., el al: u
declaracién debe incluir todas las razones de la objecion y cualquier documento relevante en su poseston.

.

Su declaracion debe asimismo incluir su nombre, direccion y numeros de teléfono.

 
Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 38 of 48 PagelD #: 967
 

Si desea presentar una objecién en la audiencia de equidad abajo indicada, debe declarar su intencién de hacerlo
mediante una objecién por escrito. Su declaracién deberia ser tan detallada como sea posible, porque en caso
contrario el Juzgado podria no permitirle presentar las razones de su objecién en la audiencia de equidad que
usted no indicase en su objecién por escrito. Envie la objecion por correo mediante el servicio de correo
urgente con referencia de seguimiento, envio pagado, a Ja direccién de abajo. Su objecién no procedera si no
es matasellada antes de o el mismo 4 de junio de 2015, la Fecha Limite.

Kelco/Elm Settlement Objections
c/o Angeion Group
1801 Market Street, Suite 660
Philadelphia, PA 19103

E] Administrador de la Liquidacion compartira su objecién con el Consejo del Colectivo y el consejo de la
Defensa, y su declaracién de objecién se enviar al Juzgado.

No podra objetar a la liquidacién si envia una carta solicitando ser excluido o «no participar» en la
liquidacién de la demanda.

 

    

la-diferencia’entre objetar y éxcluirse? SMe

 

Objetar es simplemente informar al Juzgado de que no le gusta alguna parte de la liquidacién. Puede objetar
solamente si permanece en el Colectivo. Excluirse de la liquidacién («no participam») es decirle al Juzgado que
ho quiere ser parte del Colectivo. Si se excluye, no tiene ninguna razén para objetar porque el caso no le afectara.

El Juzgado Ilevara a cabo una audiencia de equidad para decidir aprobar o no la liquidacién. El Consejo

del Colectivo responderé a las preguntas que el Juez pueda tener. No tiene que asistir a la audiencia, pero
siéntase bienvenido a asistir por cuenta propia.

Si envia una objecién, no es necesario que asista al Juzgado a hablar sobre ello, pero puede hacerlo a cuenta
propia 0 pagar a su abogado para que asista. Siempre que haya enviado por correo su objecién a tiempo, el
Juzgado la considerara. Si asiste a la audiencia, es posible que no se le permita hablar a no ser que objete por

escrito a tiempo como se describe arriba y notifique al Juzgado su intencién de aparecer en Ja audiencia de
equidad.

 
 
  

    
  

 

ga? sCudndéry donde decidira dl juzgado a Aprobavda hquida
El J uzgado llevara a cabo una Audiencia de Equidad a las 9:00 a.m. el
Distrito de los EE. UU. para el Distrito Este de Nueva York, 100 Federal Plaza, Central Islip, NY 11722.

En esta audiencia el Juzgado considerard si los términos de la liquidacién son justos, razonables y adecuados.
Si hay objeciones, el Juzgado las considerara. E1 Juzgado escuchard a las personas que hayan pedido tomar

la palabra en la audiencia. El Juzgado también puede decidir cuanto pagar al Consejo del Colectivo. Tras la
audiencia, el Juzgado decidira si aprobar o no la liquidacién. No sabemos cuanto tardaran estas decisiones.

 
  

  

 
  

nds informacion Sobreia iquldagion?

sume la liquidacién: propuesta. Mas informacién se puede encontrar en el Acuerdo de

Liquidacion, Puede revisar el acuerdo de liquidacién pidiendo una copia del Acuerdo de Liquidacién por
escrito o Hamando al Administrador de la Liquidacidén.
 

 

   

 

 
   

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Case 2:12-cv-06283-ADS-GXB Document 84-3 Filed 08/05/15 Page 41 of 48 PagelD #: 970

 

 

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Rohan Guthrie

June 1, 2015

Kelco/Elm Settlement Exclusion

c/o Angeion Group

1801 Market Street, Suite 660

Philadelphia, PA 19103

Re: Opt-Out of Settlement
Henriquez, et al v Kelco Landscaping Inc, et al
Case No, 12-CV-6233 (ADS) |

|

TO WHOM IT MAY CONCERN:

Brooklyn, New York 11203, and can be reached at (347) 262-4522

ROHAN ug

I, Rohan Guthrie, opt out of the wage and hour settlement. I reside 5102 Snyder Avenue,

Sworpjfrems me, |
_“ day of June, 2015

     
     
 

  

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Case 2:12-cv-06233-ADS-GXB Document 84-3 Filed 08/05/15 Page 45 of 48 PagelD #: 974

| exclude myself from the liquidation of Manuel Henriquez and
Jose Hector Fuentes.

| will not be part of the demand, | will not be part of the
collective, | do not like parts of the demand, | am not in favor of
some of the points or objective.

But | would like to have the right to demand or have the right
to continue a demand over the legal problems in this case.

NAME: Jose Torres Loza

X Satan

Contact Address: 61 East 5* street, Huntington station, NY,
11746-1444

Phone Number: 631-606-9172
   

Case 2:12-cv-062 DE: CAByRocument 84-3 Filed 08/05/15 Page 46 of 48 PagelD #: 975

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Brenton Dale
18 East 21* Street, Apartment B7
Brooklyn, New York 11226

June 1, 2015

Kelco/Elm Settlement Exclusion
c/o Angeion Group

1801 Market Street, Suite 660
Philadelphia, PA 19103

Re: Opt-Out of Settlement
Henriquez, et al v Kelco Landscaping Inc, et al
Case No. 12-CV-6233 (ADS)

TO WHOM IT MAY CONCERN:

I, Brenton Dale, opt out of the wage and hour settlement. I reside at 18 East 21 Street,
Apartment B7, Brooklyn, New York 11226 and can be reached at (718) 362-0850.

Prone. rl.

BRENTON DALE

 

 

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